               Case 19-51291-tnw                  Doc 1     Filed 06/27/19 Entered 06/27/19 15:07:33                              Desc Main
                                                            Document     Page 1 of 54

Fill in this information to identify your case:

United States Bankruptcy Court for the:

EASTERN DISTRICT OF KENTUCKY

Case number (if known)                                                      Chapter      7
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                          4/19
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and case number (if known).
For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Giga Entertainment Media, Inc.

2.   All other names debtor
     used in the last 8 years     DBA GIGA
     Include any assumed          DBA GEM
     names, trade names and       DBA SELFEO, actually a product name, but a lawsuit in TX claimed SELFCO as company name
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                    Mailing address, if different from principal place of
                                                                                                 business

                                  723 Central Avenue, Suite B
                                  Lexington, KY 40502
                                  Number, Street, City, State & ZIP Code                         P.O. Box, Number, Street, City, State & ZIP Code

                                  Fayette                                                        Location of principal assets, if different from principal
                                  County                                                         place of business

                                                                                                 Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       www.selfco.com www.giganettv.com www.gigaentertainmentmedia.com


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                            page 1
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Debtor    Giga Entertainment Media, Inc.                                                                Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                           Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                           Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                           Railroad (as defined in 11 U.S.C. § 101(44))
                                           Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                           Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                           Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                           None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                           Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                           Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.



8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                           Chapter 7
     debtor filing?
                                           Chapter 9
                                           Chapter 11. Check all that apply:
                                                                  Debtor's aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                  are less than $2,725,625 (amount subject to adjustment on 4/01/22 and every 3 years after that).
                                                                  The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                  business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                  statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                  procedure in 11 U.S.C. § 1116(1)(B).
                                                                  A plan is being filed with this petition.
                                                                  Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                  accordance with 11 U.S.C. § 1126(b).
                                                                  The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                  Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                  attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                  (Official Form 201A) with this form.
                                                                  The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                           Chapter 12



9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                                  When                                  Case number
                                                 District                                  When                                  Case number


10. Are any bankruptcy cases              No
    pending or being filed by a
    business partner or an                Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                      Debtor                                                                      Relationship
                                                 District                                  When                              Case number, if known




Official Form 201                              Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                page 2
                Case 19-51291-tnw                Doc 1       Filed 06/27/19 Entered 06/27/19 15:07:33                                  Desc Main
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Debtor   Giga Entertainment Media, Inc.                                                            Case number (if known)
         Name




11. Why is the case filed in    Check all that apply:
    this district?
                                         Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                         preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                         A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or          No
    have possession of any
    real property or personal       Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property that needs
    immediate attention?                    Why does the property need immediate attention? (Check all that apply.)
                                                It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                               What is the hazard?
                                                It needs to be physically secured or protected from the weather.
                                                 It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                               livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                Other
                                            Where is the property?
                                                                              Number, Street, City, State & ZIP Code
                                            Is the property insured?
                                                No
                                                Yes. Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .         Check one:
    available funds
                                             Funds will be available for distribution to unsecured creditors.
                                             After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of             1-49                                              1,000-5,000                                25,001-50,000
    creditors                       50-99                                             5001-10,000                                50,001-100,000
                                    100-199                                           10,001-25,000                              More than100,000
                                    200-999

15. Estimated Assets                $0 - $50,000                                      $1,000,001 - $10 million                   $500,000,001 - $1 billion
                                    $50,001 - $100,000                                $10,000,001 - $50 million                  $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                               $50,000,001 - $100 million                 $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                             $100,000,001 - $500 million                More than $50 billion

16. Estimated liabilities           $0 - $50,000                                      $1,000,001 - $10 million                   $500,000,001 - $1 billion
                                    $50,001 - $100,000                                $10,000,001 - $50 million                  $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                               $50,000,001 - $100 million                 $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                             $100,000,001 - $500 million                More than $50 billion




Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 3
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Debtor    Giga Entertainment Media, Inc.                                                           Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is trued and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      6/26/2019
                                                  MM / DD / YYYY


                             X /s/ Robert Morello                                                         Robert Morello
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   Chairman of the Board




18. Signature of attorney    X /s/ Taft A. McKinstry                                                       Date 06/27/2019
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Taft A. McKinstry
                                 Printed name

                                 Fowler Bell PLLC
                                 Firm name

                                 300 W. Vine Street
                                 Suite 600
                                 Lexington, KY 40507-1660
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     859-252-6700                  Email address      Bankruptcy@FowlerLaw.com

                                 46610 KY
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                    page 4
             Case 19-51291-tnw                        Doc 1          Filed 06/27/19 Entered 06/27/19 15:07:33                   Desc Main
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 Fill in this information to identify the case:

 Debtor name         Giga Entertainment Media, Inc.

 United States Bankruptcy Court for the:            EASTERN DISTRICT OF KENTUCKY

 Case number (if known)
                                                                                                                                 Check if this is an
                                                                                                                                 amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                        12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                  Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
                  Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                  Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
                  Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
                  Schedule H: Codebtors (Official Form 206H)
                  Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                  Amended Schedule
                  Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                  Other document that requires a declaration

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on          6/27/2019                               X /s/ James Massa
                                                                       Signature of individual signing on behalf of debtor

                                                                       James Massa
                                                                       Printed name

                                                                       VP of Administration/ Board Director
                                                                       Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                        Best Case Bankruptcy
              Case 19-51291-tnw                                  Doc 1              Filed 06/27/19 Entered 06/27/19 15:07:33                                                           Desc Main
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 Fill in this information to identify the case:

 Debtor name            Giga Entertainment Media, Inc.

 United States Bankruptcy Court for the:                       EASTERN DISTRICT OF KENTUCKY

 Case number (if known)
                                                                                                                                                                                       Check if this is an
                                                                                                                                                                                       amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                   12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                  $                    0.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                     $           155,237.57

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                    $           155,237.57


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $           151,667.00


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $            70,452.00

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$       11,244,310.12


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                           $         11,466,429.12




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                 page 1
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                                                          Best Case Bankruptcy
             Case 19-51291-tnw                        Doc 1          Filed 06/27/19 Entered 06/27/19 15:07:33                          Desc Main
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 Fill in this information to identify the case:

 Debtor name         Giga Entertainment Media, Inc.

 United States Bankruptcy Court for the:            EASTERN DISTRICT OF KENTUCKY

 Case number (if known)
                                                                                                                                       Check if this is an
                                                                                                                                       amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                      12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
 Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

        No. Go to Part 2.
         Yes Fill in the information below.
      All cash or cash equivalents owned or controlled by the debtor                                                                   Current value of
                                                                                                                                       debtor's interest

 3.        Checking, savings, money market, or financial brokerage accounts (Identify all)
           Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                            number
                    Azlo Business Checking
           3.1.     (opened March 27, 2019)                                 Business Checking               7266                                     $2,026.13




           3.2.     PNC Bank Checking Accont                                Checking                        3612                                         $44.44



 4.        Other cash equivalents (Identify all)

 5.        Total of Part 1.                                                                                                                      $2,070.57
           Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

 Part 2:          Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

        No. Go to Part 3.
        Yes Fill in the information below.


 Part 3:          Accounts receivable
10. Does the debtor have any accounts receivable?

        No. Go to Part 4.
        Yes Fill in the information below.


 Part 4:          Investments

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                               page 1
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                              Best Case Bankruptcy
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 Debtor         Giga Entertainment Media, Inc.                                                Case number (If known)
                Name

13. Does the debtor own any investments?

        No. Go to Part 5.
        Yes Fill in the information below.


 Part 5:        Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

        No. Go to Part 6.
        Yes Fill in the information below.


 Part 6:        Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

        No. Go to Part 7.
        Yes Fill in the information below.


 Part 7:        Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

        No. Go to Part 8.
        Yes Fill in the information below.

           General description                                                Net book value of      Valuation method used    Current value of
                                                                              debtor's interest      for current value        debtor's interest
                                                                              (Where available)

 39.       Office furniture

 40.       Office fixtures

 41.       Office equipment, including all computer equipment and
           communication systems equipment and software
           3 Laptops/pc 1 year old
           3 Ipads, 3 years old                                                        Unknown       N/A                                  $1,000.00



 42.       Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
           books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
           collections; other collections, memorabilia, or collectibles

 43.       Total of Part 7.                                                                                                              $1,000.00
           Add lines 39 through 42. Copy the total to line 86.

 44.       Is a depreciation schedule available for any of the property listed in Part 7?
               No
               Yes

 45.       Has any of the property listed in Part 7 been appraised by a professional within the last year?
               No
               Yes

 Part 8:        Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

        No. Go to Part 9.
        Yes Fill in the information below.



Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                 page 2
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                   Best Case Bankruptcy
             Case 19-51291-tnw                        Doc 1          Filed 06/27/19 Entered 06/27/19 15:07:33                Desc Main
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 Debtor         Giga Entertainment Media, Inc.                                                Case number (If known)
                Name

 Part 9:        Real property
54. Does the debtor own or lease any real property?

        No. Go to Part 10.
        Yes Fill in the information below.


 Part 10:       Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

        No. Go to Part 11.
        Yes Fill in the information below.

            General description                                               Net book value of      Valuation method used    Current value of
                                                                              debtor's interest      for current value        debtor's interest
                                                                              (Where available)

 60.        Patents, copyrights, trademarks, and trade secrets
            Registered Trademarks SELFEO and Immerse
            Yourself                                                                   Unknown                                                  $0.00



 61.        Internet domain names and websites
            http://www.selfeo.com                                                      Unknown                                                  $0.00



 62.        Licenses, franchises, and royalties

 63.        Customer lists, mailing lists, or other compilations

 64.        Other intangibles, or intellectual property
            Software Social Media Product code for
            SELFEO 3.1                                                                 Unknown                                         $151,667.00



 65.        Goodwill

 66.        Total of Part 10.                                                                                                       $151,667.00
            Add lines 60 through 65. Copy the total to line 89.

 67.        Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C.§§ 101(41A) and 107?
               No
               Yes

 68.        Is there an amortization or other similar schedule available for any of the property listed in Part 10?
               No
               Yes

 69.        Has any of the property listed in Part 10 been appraised by a professional within the last year?
               No
               Yes

 Part 11:       All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

        No. Go to Part 12.
        Yes Fill in the information below.



Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                 page 3
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                   Best Case Bankruptcy
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 Debtor         Giga Entertainment Media, Inc.                                               Case number (If known)
                Name

                                                                                                                       Current value of
                                                                                                                       debtor's interest


 71.       Notes receivable
           Description (include name of obligor)

 72.       Tax refunds and unused net operating losses (NOLs)
           Description (for example, federal, state, local)

 73.       Interests in insurance policies or annuities
           Hartford Insurance - Worker's Compensation Policy
           (terminates July 7, 2019)
           No cash value                                                                                                                 $0.00



 74.       Causes of action against third parties (whether or not a lawsuit
           has been filed)

 75.       Other contingent and unliquidated claims or causes of action of
           every nature, including counterclaims of the debtor and rights to
           set off claims

 76.       Trusts, equitable or future interests in property

 77.       Other property of any kind not already listed Examples: Season tickets,
           country club membership
           Misc. Business Give a way swag items
           (tshirts, etc)                                                                                                            $500.00




 78.       Total of Part 11.                                                                                                      $500.00
           Add lines 71 through 77. Copy the total to line 90.

 79.       Has any of the property listed in Part 11 been appraised by a professional within the last year?
               No
               Yes




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                          page 4
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                            Best Case Bankruptcy
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 Debtor          Giga Entertainment Media, Inc.                                                                      Case number (If known)
                 Name



 Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                               Current value of                    Current value of real
                                                                                                     personal property                   property

 80. Cash, cash equivalents, and financial assets.
     Copy line 5, Part 1                                                                                              $2,070.57

 81. Deposits and prepayments. Copy line 9, Part 2.                                                                          $0.00

 82. Accounts receivable. Copy line 12, Part 3.                                                                              $0.00

 83. Investments. Copy line 17, Part 4.                                                                                      $0.00

 84. Inventory. Copy line 23, Part 5.                                                                                        $0.00

 85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

 86. Office furniture, fixtures, and equipment; and collectibles.
     Copy line 43, Part 7.                                                                                            $1,000.00

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                               $0.00

 88. Real property. Copy line 56, Part 9.........................................................................................>                                $0.00

 89. Intangibles and intellectual property. Copy line 66, Part 10.                                                $151,667.00

 90. All other assets. Copy line 78, Part 11.                                                    +                       $500.00

 91. Total. Add lines 80 through 90 for each column                                                            $155,237.57           + 91b.                      $0.00


 92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $155,237.57




Official Form 206A/B                                               Schedule A/B Assets - Real and Personal Property                                                          page 5
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                                 Best Case Bankruptcy
             Case 19-51291-tnw                        Doc 1           Filed 06/27/19 Entered 06/27/19 15:07:33                                Desc Main
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 Fill in this information to identify the case:

 Debtor name          Giga Entertainment Media, Inc.

 United States Bankruptcy Court for the:            EASTERN DISTRICT OF KENTUCKY

 Case number (if known)
                                                                                                                                              Check if this is an
                                                                                                                                              amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                     12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
          No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
          Yes. Fill in all of the information below.
 Part 1:      List Creditors Who Have Secured Claims
                                                                                                                    Column A                    Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
 claim, list the creditor separately for each claim.                                                                Amount of claim             Value of collateral
                                                                                                                                                that supports this
                                                                                                                    Do not deduct the value     claim
                                                                                                                    of collateral.
 2.1    Perficient, Inc.                              Describe debtor's property that is subject to a lien                 $151,667.00               $151,667.00
        Creditor's Name                               Software Social Media Product code for
        ATTN: Jeffrey Myska                           SELFEO 3.1
        555 Maryville University
        Drive, Ste 500
        Saint Louis, MO 63141
        Creditor's mailing address                    Describe the lien
                                                      Retention Title
        jeffrey.myska@perficient.c                    Is the creditor an insider or related party?
        om                                               No
        Creditor's email address, if known                Yes
                                                      Is anyone else liable on this claim?
        Date debt was incurred                           No
        5/6/2016                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
        Last 4 digits of account number

        Do multiple creditors have an                 As of the petition filing date, the claim is:
        interest in the same property?                Check all that apply
            No                                           Contingent
            Yes. Specify each creditor,                  Unliquidated
        including this creditor and its relative         Disputed
        priority.



 3.    Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.          $151,667.00

 Part 2:     List Others to Be Notified for a Debt Already Listed in Part 1
 List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
 assignees of claims listed above, and attorneys for secured creditors.

 If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
         Name and address                                                                                      On which line in Part 1 did       Last 4 digits of
                                                                                                               you enter the related creditor?   account number for
                                                                                                                                                 this entity




Official Form 206D                                 Schedule D: Creditors Who Have Claims Secured by Property                                                 page 1 of 1
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 Fill in this information to identify the case:

 Debtor name         Giga Entertainment Media, Inc.

 United States Bankruptcy Court for the:            EASTERN DISTRICT OF KENTUCKY

 Case number (if known)
                                                                                                                                                Check if this is an
                                                                                                                                                amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                               12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

       1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

             No. Go to Part 2.

             Yes. Go to line 2.

       2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
          with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                                  Total claim           Priority amount

 2.1       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                     $70,452.00          $70,452.00
           Internal Revenue Service                                  Check all that apply.
           P.O. Box 7346                                                Contingent
           Philadelphia, PA 19104-7346                                  Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017                                                      W2/Penalties
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.2       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                       Unknown           Unknown
           N.J. Division of Taxation                                 Check all that apply.
           Bankruptcy Section                                           Contingent
           P.O. Box 245                                                 Unliquidated
           Trenton, NJ 08695-0245                                       Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017-2019                                                 Taxes
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes




Official Form 206E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                page 1 of 14
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 2.3       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                                       Unknown    Unknown
           New York State Department of                              Check all that apply.
           Taxation                                                     Contingent
           and Finance                                                  Unliquidated
           Bankruptcy Section                                           Disputed
           P.O. Box 5300
           Albany, NY 12205-0300
           Date or dates debt was incurred                           Basis for the claim:
           2017-2019                                                 Taxes
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes



 Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
       3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
          out and attach the Additional Page of Part 2.
                                                                                                                                                      Amount of claim

 3.1       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                $45,000.00
           Airsign, LLC                                                                Contingent
           c/o Brian Modiano, CFO                                                      Unliquidated
           12 NW 5th Place                                                             Disputed
           Williston, FL 32696
                                                                                   Basis for the claim:     Settlement Payment Agreement
           Date(s) debt was incurred 2017/2019
           Last 4 digits of account number                                         Is the claim subject to offset?     No       Yes


 3.2       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                  Unknown
           Alfred Colucci                                                              Contingent
           937 Lawnton Terrance                                                        Unliquidated
           Glenolden, PA 19036
                                                                                       Disputed
           Date(s) debt was incurred
                                                                                   Basis for the claim:     Disputed unpaid wages
           Last 4 digits of account number
                                                                                   Is the claim subject to offset?     No       Yes

 3.3       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                        $0.00
           Amazon Web Services, Inc.                                                   Contingent
           410 Terry Ave North                                                         Unliquidated
           Seattle, WA 98109-5210                                                      Disputed
           Date(s) debt was incurred
                                                                                   Basis for the claim:     Business Expenses
           Last 4 digits of account number
                                                                                   Is the claim subject to offset?     No       Yes

 3.4       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.              $642,500.00
           ANC Sports Enterprises, LLC                                                 Contingent
           2 Manhattenville Road, Ste 402                                              Unliquidated
           Purchase, NY 10577                                                          Disputed
           Date(s) debt was incurred
                                                                                   Basis for the claim:     Settlement Payment Agreement
           Last 4 digits of account number
                                                                                   Is the claim subject to offset?     No       Yes

 3.5       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                $12,500.00
           Anthony Mapolitano                                                          Contingent
           5510 Merrick Road                                                           Unliquidated
           Massapequa, NY 11758                                                        Disputed
           Date(s) debt was incurred
                                                                                   Basis for the claim:     Audit
           Last 4 digits of account number
                                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                         Page 2 of 14
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 3.6      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $270,883.00
          Arent Fox LLP                                                         Contingent
          1717 K. Street, NW                                                    Unliquidated
          Washington, DC 20006                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Legal fees
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.7      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $31,422.00
          Armanino, LLP                                                         Contingent
          P.O. Box 398285                                                       Unliquidated
          San Francisco, CA 94139                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Audit
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.8      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $121.00
          Balder IP Law                                                         Contingent
          Paseo de la Castellana, 93                                            Unliquidated
          28046 Madrid Spain                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Legal fees
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.9      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $3,362.00
          Bank of America                                                       Contingent
          P.O. Box 982238                                                       Unliquidated
          El Paso, TX 79998                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Credit Card
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.10     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $30,000.00
          Behalf                                                                Contingent
          P.O. Box 1804                                                         Unliquidated
          New York, NY 10159                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Business Loan Line of Credit
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.11     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,500,000.00
          Boston Red Sox Baseball LP                                            Contingent
          c/o David S. Friedman, Esq.                                           Unliquidated
          4 Yawkey Way                                                          Disputed
          Boston, MA 02215
                                                                             Basis for the claim:    Settlement Payment Agreement
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.12     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $8,000.00
          Brent Harris                                                          Contingent
          3619 Peggy's Place                                                    Unliquidated
          Tyler, TX 75701                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Business Loan
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                              Page 3 of 14
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 3.13     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $10,000.00
          CBS 360 Digital                                                       Contingent
          22985 Network Place                                                   Unliquidated
          Chicago, IL 60673                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Advertising
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.14     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $60,000.00
          CBS Radio/Szabo Assoc/Entercom Comm.                                  Contingent
          3355 Lenox Road,9th Floor                                             Unliquidated
          Atlanta, GA 30326                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Advertising
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.15     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             Unknown
          Chuck Noska                                                           Contingent
          5715 Hwy 85 N. PMB 1316                                               Unliquidated
          Crestview, FL 32536
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Disputed unpaid wages
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.16     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $8,000.00
          Cindy Meengs                                                          Contingent
          1925 8th Avenue SW                                                    Unliquidated
          Byron Center, MI 49315                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Business Loan
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.17     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $6,973.00
          David do Nascimento Advodagos                                         Contingent
          Av. Paulista,1294 16 Andar Cerqueira Cez                              Unliquidated
          01310 915 Sao Paulo SP Brasil                                         Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Legal fees Patent
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.18     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $24,755.00
          Dawson Orr                                                            Contingent
          50 N. Laura Street, Suite 1675                                        Unliquidated
          Jacksonville, FL 32202                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Legal fees
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.19     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $46,483.00
          Dennemeyer & Co. LLC                                                  Contingent
          2 North Riverside Plaza, Suite 1500                                   Unliquidated
          Chicago, IL 60606                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Legal fees
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                              Page 4 of 14
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 3.20     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          Dialpad, inc.                                                         Contingent
          100 California Street, Ste 500                                        Unliquidated
          San Francisco, CA 94111                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Business Expenses
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.21     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $160,000.00
          Douglas K. Miller                                                     Contingent
          4940 Lazio Way                                                        Unliquidated
          Oak Park, CA 91377                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Settlement Payment Agreement
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.22     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $88,030.00
          Eddie Huey                                                            Contingent
          538 Grove Street                                                      Unliquidated
          Montclair, NJ 07043                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Business Loan and unpaid wages
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.23     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $2,853.00
          Everbank/TIAA                                                         Contingent
          TIAA Commercial Finance                                               Unliquidated
          P.O. Box 911608                                                       Disputed
          Denver, CO 80291
                                                                             Basis for the claim:    Collections late fees
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.24     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          Federal Express                                                       Contingent
          3875 Airways, ModuleH3 Department 4634                                Unliquidated
          Memphis, TN 38116                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Business Expenses
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.25     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $17,400.00
          Finn Partners                                                         Contingent
          301 E. 57th Street                                                    Unliquidated
          New York, NY 10022                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Business Loan
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.26     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $88,766.00
          Grassi & Co.                                                          Contingent
          50 Jeficho Quadrangle, Ste 200                                        Unliquidated
          Jericho, NY 11753                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Audit
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.27     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          Hartford Insurance                                                    Contingent
          Worker's Compensation Policy                                          Unliquidated
          1251 Old Northern Blvd.                                               Disputed
          Roslyn, NY 11576
                                                                             Basis for the claim:    Worker's Compensation Policy
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.28     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $68,338.00
          IBM Credit                                                            Contingent
          1 North Castle Drive                                                  Unliquidated
          Armonk, NY 10504                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Account
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.29     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,400,000.00
          Jacksonville Jaquars                                                  Contingent
          c/o Gunster                                                           Unliquidated
          225 Water Street, Suite 1750                                          Disputed
          Jacksonville, FL 32202
                                                                             Basis for the claim:    Business Debt - Judgment
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.30     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $80,000.00
          James Massa                                                           Contingent
          723 Central Avenue, Suite B                                           Unliquidated
          Lexington, KY 40502                                                   Disputed
          Date(s) debt was incurred 2017-2019
                                                                             Basis for the claim:    Unpaid wages/Severance
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.31     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $5,000.00
          Jarrett Streiner                                                      Contingent
          10400 NW 6th Stret                                                    Unliquidated
          Fort Lauderdale, FL 33324
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Disputed unpaid wages
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.32     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $28,000.00
          Jim Smith                                                             Contingent
          717 Ridge Pike                                                        Unliquidated
          Lafayette Hill, PA 19444                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Business Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.33     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $700,000.00
          John C. Nimmer, Esq,                                                  Contingent
          13703 South 14th Street                                               Unliquidated
          Bellevue, NE 68123                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Promissory Note/Lawsuit
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.34     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $23,000.00
          John Price                                                            Contingent
          325 Silvertree Lane                                                   Unliquidated
          Redlands, CA 92374                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Business Loan
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.35     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $87,380.00
          Judith Cooper                                                         Contingent
          138 Sunset Drive                                                      Unliquidated
          West Long Branch, NJ 07764                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Settlement Agreement Lawsuit
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.36     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $4,521.00
          Lamar Advertising                                                     Contingent
          c/o Rouch-Milliken International , Inc.                               Unliquidated
          P.O. Box 8390                                                         Disputed
          Metairie, LA 70011
                                                                             Basis for the claim:    Collections
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.37     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             Unknown
          Lawrence Silver                                                       Contingent
          1600 Oakmont Drive #3                                                 Unliquidated
          Walnut Creek, CA 94595                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Disputed unpaid wages
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.38     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $50,000.00
          Lipton Weinbergr & Husick                                             Contingent
          201 N. Jackson Street, Ste 1                                          Unliquidated
          Media, PA 19063                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Legal fees
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.39     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $225,000.00
          Los Angeles Dodgers                                                   Contingent
          c/o Jerome M. Jackson, Esq.                                           Unliquidated
          880 Apollo Street, Suite 238                                          Disputed
          El Segundo, CA 90245
                                                                             Basis for the claim:    Settlement Payment Agreement
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.40     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,116.00
          Luzzatto & Luzzatto                                                   Contingent
          P.O. Box 5352                                                         Unliquidated
          Beer Sheva 8415202 Israel                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Legal fees
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.41     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          Lyft                                                                  Contingent
          548 Market Street, Sute 68514                                         Unliquidated
          San Francisco, CA 94104                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Business Expenses
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.42     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             Unknown
          Martec International (TOGO)                                           Contingent
          529 Dowd Avenue                                                       Unliquidated
          Essex Fells, NJ 07021                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Funds forwarded
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.43     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $26,765.00
          Mathews Giberson, LLP                                                 Contingent
          200 S. Andrews Avenue, Suite 800                                      Unliquidated
          Fort Lauderdale, FL 33301                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Legal fees
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.44     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $10,424.87
          Maxium Media & PR                                                     Contingent
          211-164 Sandalwood Pkwy Easts                                         Unliquidated
          Dept #1064                                                            Disputed
          Brampton, ON L6Z4X1
                                                                             Basis for the claim:    Advertising
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.45     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $100,841.25
          Meedmob, Inc.                                                         Contingent
          31 St James Avenue                                                    Unliquidated
          Boston, MA 02116                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Advertising
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.46     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          Microsoft Azure                                                       Contingent
          One Microsoft Way                                                     Unliquidated
          Redmond, WA 98052                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Business expenses - Software support
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.47     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $8,000.00
          Milton Langer                                                         Contingent
          8975 W. Golf Road                                                     Unliquidated
          Niles, IL 60714                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Business loan
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                              Page 8 of 14
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 Debtor       Giga Entertainment Media, Inc.                                                          Case number (if known)
              Name

 3.48     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $59,748.00
          Morvillo Abramowitz Grand Iason & Anello                              Contingent
          565 Fifth Avenue                                                      Unliquidated
          New York, NY 10017                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Legal fees
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.49     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $5,287.00
          MSCCM Commercial Credit                                               Contingent
          333 W. Hampden Avenue, Ste 820                                        Unliquidated
          Englewood, CO 80110                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Business loan
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.50     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $216,000.00
          NEP                                                                   Contingent
          c/o of OCH & Goldber, LLP                                             Unliquidated
          60 East 42nd Street, Suite 4600                                       Disputed
          New York, NY 10165
                                                                             Basis for the claim:    Advertising
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.51     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $25,000.00
          New York State Department of Labor                                    Contingent
          c/o Marianna DeCrescenzo,Esq.                                         Unliquidated
          75 Varick Street, 7th Floor                                           Disputed
          New York, NY 10013
                                                                             Basis for the claim:    Wage complaint
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.52     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,385.00
          Optimum from 1979 New Hyde Park                                       Contingent
          1111 Stewart Avenue                                                   Unliquidated
          Bethpage, NY 11714-3581                                               Disputed
          Date(s) debt was incurred Various
                                                                             Basis for the claim:    Collections Cablevision
          Last 4 digits of account number 1010
                                                                             Is the claim subject to offset?     No       Yes

 3.53     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $54,698.00
          Outfront Media, Inc.                                                  Contingent
          405 Lexington Avenue                                                  Unliquidated
          New York, NY 10174                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Business expenses Marketing
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.54     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $9,567.00
          Phillips, Cantor & Shalek, PA                                         Contingent
          4000 Hollywood Blvd, Suite 500 North                                  Unliquidated
          Hollywood, FL 33021                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Legal fees Collections
          Last 4 digits of account number       6563
                                                                             Is the claim subject to offset?     No       Yes




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              Name

 3.55     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $209,750.00
          Professional Specialty Publications, LLC
          d/b/a National Event Publication                                      Contingent
          ATTN: Chief Financial Officer                                         Unliquidated
          570 Elmont Road                                                       Disputed
          Elmont, NY 11003
                                                                             Basis for the claim:    Settlement Payment Agreement
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.56     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $6,057.00
          Purdy Lucy                                                            Contingent
          6-7 Harcourt Terrance                                                 Unliquidated
          Dublin 2                                                              Disputed
          DO2 FH73
                                                                             Basis for the claim:    Legal fees Patent
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.57     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $42,777.00
          Robert Morello                                                        Contingent
          109 Presidential Drive                                                Unliquidated
          Horseheads, NY 14845                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Business loans
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.58     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $20,113.00
          Sallah Astarita & Cox LLC                                             Contingent
          James D. Sallah, Esq.                                                 Unliquidated
          3010 N. Military Trail, #210                                          Disputed
          Boca Raton, FL 33431
                                                                             Basis for the claim:    Legal fees
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.59     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $48,000.00
          Scott Lloyd                                                           Contingent
          19102 Oakboard Road                                                   Unliquidated
          Tyler, TX 75703                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Business loan
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.60     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $63,000.00
          Serge Abend                                                           Contingent
          2515 South Court                                                      Unliquidated
          Palo Alto, CA 94301                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Business loan
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.61     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $41,245.00
          Sheppard Mullin Law Firm                                              Contingent
          333 South Hope Street                                                 Unliquidated
          Harbor City, CA 90710                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Legal fees
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                              Page 10 of 14
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              Name

 3.62     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $78,408.00
          Skiermont Derby LLP                                                   Contingent
          1601 Elm Street, Ste 4400                                             Unliquidated
          Dallas, TX 75201                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Legal fees
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.63     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $68,587.00
          South by Southwest (SXSW)                                             Contingent
          28 Main Street, Suite 1800                                            Unliquidated
          Rochester, NY 14614                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Business debt lawsuit pending
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.64     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $5,490.00
          Spoor Fisher                                                          Contingent
          11 Byls Bridge Blvd, Bldg. 14                                         Unliquidated
          Highveld ext 73                                                       Disputed
          Centurion, 0157 Pretoria South Africa
                                                                             Basis for the claim:    Legal fees Patent
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.65     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,147.00
          Spruson & Ferguson Pty Limited                                        Contingent
          PTY GPO Box 3898                                                      Unliquidated
          Sydney NSW 2001 Australia                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Legal fees Patent
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.66     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $5,966.00
          Staples                                                               Contingent
          1111 S. Figueroa Street                                               Unliquidated
          Los Angeles, CA 90015                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Business debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.67     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $3,595.00
          State Point Media, Inc.                                               Contingent
          183 Madison Avenue, Ste 605                                           Unliquidated
          New York, NY 10016                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Advertising
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.68     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             Unknown
          Steven Pulisic                                                        Contingent
          369 Central Avenue                                                    Unliquidated
          Deer Park, NY 11729
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Disputed unpaid wages
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.69     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $240,000.00
          The Rose Group, LLC                                                   Contingent
          Attn: Steven Rose                                                     Unliquidated
          1594 Long Ridge Road                                                  Disputed
          Stamford, CT 06903
                                                                                             Settlement agreement and
                                                                             Basis for the claim:
          Date(s) debt was incurred
                                                                             Public Relations Services
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.70     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          Uber                                                                  Contingent
          1455 Market Street                                                    Unliquidated
          San Francisco, CA 94103                                               Disputed
          Date(s) debt was incurred Various
                                                                             Basis for the claim:    Business expenses
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.71     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $8,741.00
          Uhthoff, Gomez, Vega                                                  Contingent
          Los Angeles Lockbox                                                   Unliquidated
          File # 50095                                                          Disputed
          Los Angeles, CA 90074
                                                                             Basis for the claim:    Legal fees Patent
          Date(s) debt was incurred 2015
          Last 4 digits of account number       6167                         Is the claim subject to offset?     No       Yes


 3.72     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $8,680.00
          United Trademark & Patent Services                                    Contingent
          Sutie 401-401, Al Hawai Tower                                         Unliquidated
          Sheikh Zayed, P.O. Box 72430                                          Disputed
          Dubai, United Arab Emirates
                                                                             Basis for the claim:    Legal fees Patent
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.73     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             Unknown
          UPS                                                                   Contingent
          P.O, Box 7247-0244                                                    Unliquidated
          Philadelphia, PA 19170-0001                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Business expenses
          Last 4 digits of account number       Y328
                                                                             Is the claim subject to offset?     No       Yes

 3.74     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $100,010.00
          Van Wagner Aerial Media                                               Contingent
          2380 Juniperor, Suite B                                               Unliquidated
          Daly City, CA 94015-1645                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Business Debt Default Judgment
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.75     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          Verizon                                                               Contingent
          P.O. Box 408                                                          Unliquidated
          Newark, NJ 07101-0408                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Business expenses
          Last 4 digits of account number       7263
                                                                             Is the claim subject to offset?     No       Yes




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 3.76      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.             $34,220.00
           VStock                                                               Contingent
           18 LaFayette Place                                                   Unliquidated
           Woodmere, NY 11598                                                   Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    Transfer agent
           Last 4 digits of account number
                                                                             Is the claim subject to offset?      No       Yes

 3.77      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.               $5,530.00
           Wells Fargo SBL                                                      Contingent
           P.O. Box 29482                                                       Unliquidated
           Phoenix, AZ 85038                                                    Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    Credit Card
           Last 4 digits of account number
                                                                             Is the claim subject to offset?      No       Yes

 3.78      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                 $900.00
           WeWork HQ.                                                           Contingent
           115 W. 18th Street                                                   Unliquidated
           New York, NY 10011                                                   Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    Rent 315 W. 36th Street
           Last 4 digits of account number
                                                                             Is the claim subject to offset?      No       Yes

 3.79      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                     $0.00
           Windstream Enterprises                                               Contingent
           P.O. Box 70268                                                       Unliquidated
           Philadelphia, PA 19176-0268                                          Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    Business Expenses Broadview Networks
           Last 4 digits of account number      C446
                                                                             Is the claim subject to offset?      No       Yes

 3.80      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.               $4,975.00
           Yus Loc                                                              Contingent
           Patent Attorney                                                      Unliquidated
           d6 Prospekt Mira                                                     Disputed
           Moscow 129090 Russia
                                                                             Basis for the claim:    Legal Fees
           Date(s) debt was incurred
           Last 4 digits of account number                                   Is the claim subject to offset?      No       Yes



 Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

   If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

           Name and mailing address                                                                   On which line in Part1 or Part 2 is the        Last 4 digits of
                                                                                                      related creditor (if any) listed?              account number, if
                                                                                                                                                     any
 4.1       Daniel J. Cloherty
           Collora LLP                                                                                Line     3.11
           100 High Street
                                                                                                             Not listed. Explain
           Boston, MA 02110-2321

 4.2       David Lynn, Esq.
           Law office of David Lynn                                                                   Line     3.21
           11500 W. Olympic Bl., Ste 400
                                                                                                             Not listed. Explain
           Los Angeles, CA 90064




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 Debtor       Giga Entertainment Media, Inc.                                                      Case number (if known)
              Name

           Name and mailing address                                                              On which line in Part1 or Part 2 is the        Last 4 digits of
                                                                                                 related creditor (if any) listed?              account number, if
                                                                                                                                                any
 4.3       Eric Neilsen, Esq.
           100 2nd Avenue North, Suite 240                                                       Line     3.1
           Saint Petersburg, FL 33701
                                                                                                        Not listed. Explain

 4.4       Kollman & Saucier, P.A.
           1823 York Rd The Business Law Blvd                                                    Line     3.56
           Lutherville Timonium, MD 21093
                                                                                                        Not listed. Explain

 4.5       Locke Lord LLP
           Broofield Place                                                                       Line     3.69
           2000 Vesey Street, 20th Floor
                                                                                                        Not listed. Explain
           New York, NY 10281

 4.6       Mitchell D. Goldberg, Esq.
           60 East 42nd Street, Ste 4600                                                         Line     3.55
           New York, NY 10165
                                                                                                        Not listed. Explain

 4.7       Scott A. Birnbaum, Esq.
           Birnbaum & Godkin, LLP                                                                Line     3.45
           280 Summer Street
                                                                                                        Not listed. Explain
           Boston, MA 02210

 4.8       Steven B. Sprechman, Esq.
           Law Offices of Sprechman & Fisher PA                                                  Line     3.54
           2775 Sunny Isles Blvd, Ste 100
                                                                                                        Not listed. Explain
           North Miami Beach, FL 33160-4007

 4.9       Sweet & Walker PC
           2380 Junipero Serra Blvd. Ste B                                                       Line     3.74
           Daly City, CA 94015
                                                                                                        Not listed. Explain


 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                     Total of claim amounts
 5a. Total claims from Part 1                                                                       5a.          $                    70,452.00
 5b. Total claims from Part 2                                                                       5b.    +     $                11,244,310.12

 5c. Total of Parts 1 and 2
     Lines 5a + 5b = 5c.                                                                            5c.          $                   11,314,762.12




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 14 of 14
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 Fill in this information to identify the case:

 Debtor name         Giga Entertainment Media, Inc.

 United States Bankruptcy Court for the:            EASTERN DISTRICT OF KENTUCKY

 Case number (if known)
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.    Does the debtor have any executory contracts or unexpired leases?
        No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

 2. List all contracts and unexpired leases                                       State the name and mailing address for all other parties with
                                                                                  whom the debtor has an executory contract or unexpired
                                                                                  lease

 2.1.        State what the contract or                   Software Social Media
             lease is for and the nature of               Product code for
             the debtor's interest                        SELFEO 3.1

                  State the term remaining                12/31/2019                  Perficient, Inc.
                                                                                      ATTN: Jeffrey Myska
             List the contract number of any                                          P.O. Box 207094
                   government contract                                                Dallas, TX 75320


 2.2.        State what the contract or                   Shared Office space
             lease is for and the nature of               Lease expires June,
             the debtor's interest                        2019.

                  State the term remaining
                                                                                      WeWork Hq.
             List the contract number of any                                          115 W. 18th Street
                   government contract                                                New York, NY 10011




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                             Page 1 of 1
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 Fill in this information to identify the case:

 Debtor name         Giga Entertainment Media, Inc.

 United States Bankruptcy Court for the:            EASTERN DISTRICT OF KENTUCKY

 Case number (if known)
                                                                                                                                Check if this is an
                                                                                                                                amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                       12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

      1. Do you have any codebtors?

    No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
    Yes

   2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
      creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
      on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
            Column 1: Codebtor                                                                        Column 2: Creditor



             Name                              Mailing Address                                    Name                           Check all schedules
                                                                                                                                 that apply:

    2.1      Lawrence Silver                   1600 Oakmont Drive #3                              Behalf                            D
                                               Walnut Creek, CA 94595                                                               E/F       3.10
                                                                                                                                    G




    2.2      Lawrence Silver                   1600 Oakmont Drive #3                              Wells Fargo SBL                   D
                                               Walnut Creek, CA 94595                                                               E/F       3.77
                                                                                                                                    G




Official Form 206H                                                            Schedule H: Your Codebtors                                      Page 1 of 1
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 Fill in this information to identify the case:

 Debtor name         Giga Entertainment Media, Inc.

 United States Bankruptcy Court for the:            EASTERN DISTRICT OF KENTUCKY

 Case number (if known)
                                                                                                                                           Check if this is an
                                                                                                                                           amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                         04/19
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

 Part 1:      Income

1. Gross revenue from business

           None.

       Identify the beginning and ending dates of the debtor’s fiscal year,                    Sources of revenue                          Gross revenue
       which may be a calendar year                                                            Check all that apply                        (before deductions and
                                                                                                                                           exclusions)
2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

           None.

                                                                                               Description of sources of revenue           Gross revenue from
                                                                                                                                           each source
                                                                                                                                           (before deductions and
                                                                                                                                           exclusions)

 Part 2:      List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $6,825. (This amount may be adjusted on 4/01/22
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

           None.

       Creditor's Name and Address                                         Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                               Check all that apply
       3.1.
               Jason J. Rebhun, Esq.                                       4/3/2019                           $8,000.00           Secured debt
               225 Broadway 38th Floor                                     $5,000                                                 Unsecured loan repayments
               New York, NY 10007                                          4/23/2019                                              Suppliers or vendors
                                                                           $3,000                                                 Services
                                                                                                                                  Other



4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
   or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $6,825. (This amount
   may be adjusted on 4/01/22 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
   listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
   debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

           None.

       Insider's name and address                                          Dates                 Total amount of value         Reasons for payment or transfer
       Relationship to debtor


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       Insider's name and address                                          Dates                 Total amount of value           Reasons for payment or transfer
       Relationship to debtor
       4.1.    James Massa                                                 2018 1099                       $180,220.00           Compensation for services
               723 Central Avenue, Suite B                                 Consultant                                            rendered/expense
               Lexington, KY 40502                                         Payments                                              reimbursement
               CEO Consultant

       4.2.    Gary Nerlinger                                              2018                             $55,859.00           Compensation for services
               1 Center Drive                                                                                                    rendered
               Roslyn, NY 11576
               Former CEO/President Consultant

       4.3.    Eddie Huey                                                  2018                             $80,731.00           Compensation for services
               538 Grove Street                                                                                                  rendered/consulting
               Montclair, NJ 07043                                                                                               fees/expense reimbursement
               CTO Employee

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

           None

       Creditor's name and address                               Describe of the Property                                      Date                    Value of property

       EMCF Partners, LLC                                        Non Wage Bank Garnishment - Chase Bank                        3-27-2018                   $134,000.00
                                                                 total of $134,000.00 seized from Giga Chase
                                                                 checking account Cause Action
                                                                 D-1-GN-16-002786
                                                                 Travis County, Texas District Court


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

           None

       Creditor's name and address                               Description of the action creditor took                       Date action was                   Amount
                                                                                                                               taken

 Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

           None.

               Case title                                        Nature of case             Court or agency's name and                Status of case
               Case number                                                                  address
       7.1.    Los Angeles Dodgers LLC                           Advertising and            Superior Ct of State of                        Pending
               v.                                                Sponsorship                California                                     On appeal
               GIGA Entertainment Media                          Agreement                  11701 S. La Cienega                            Concluded
               Inc.                                              dispute                    Los Angeles, CA 90045
               BC639537

       7.2.    Airsign, LLC                                      Advertising and            Orange County Circuit                          Pending
               v.                                                Sponsorship                court                                          On appeal
               GIGA Entertainment                                Agreement                  425 N. Orange Avenue                           Concluded
               2016-CA-00-6395-0                                 dispute                    Orlando, FL 32801




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               Case title                                        Nature of case            Court or agency's name and            Status of case
               Case number                                                                 address
       7.3.    ANC Sports Enterprises, LLC                       Advertising and           Supreme Court of the State               Pending
               v.                                                Sponsorship               of New York                              On appeal
               Giga Entertainment Meida,                         Agreement                 Westchester County                       Concluded
               Inc.                                              dispute                   111 Dr. Martin Luther King
               Index No. 53262/2017                                                        Jr. Blvd
                                                                                           White Plains, NY 10601

       7.4.    Boston Red Sox Baseball                           Advertising and           Suffolk County Superior                  Pending
               Club LTD. Partnership                             Sponsorship               Court                                    On appeal
               v.                                                Agreement                 Commonwealth of                          Concluded
               Giga Entertainment Media,                         dispute                   Massachusetts
               Inc.                                                                        3 Pemberton Sq Ste 13
               2017-0916                                                                   Boston, MA 02108

       7.5.    Douglas Miller                                    Advertising and           Superior Ct of State of                  Pending
               v                                                 Sponsorship               California                               On appeal
               Giga Entertainment Media,                         Agreement                 11701 S. La Cienega                      Concluded
               Inc. et al                                        dispute                   Los Angeles, CA 90045
               BC612468

       7.6.    Jacksonville Jaquars                              Advertising and           Circuit Court 4th Judical                Pending
               v.                                                Sponsorship               Circuit                                  On appeal
               Giga Entertainment Media,                         Agreement                 in and for Duvall County                 Concluded
               Inc.                                              Dispute                   Florida
                                                                                           501 West Adams Street
                                                                                           Jacksonville, FL 32202

       7.7.    Professional Specialty                            Contracts                 Supreme Court of State of                Pending
               Publications, LLC d/b/a                                                     New York                                 On appeal
               National Event Publication                                                  County of Nassau                         Concluded
               v.                                                                          100 Supreme Court Drive
               Giga Entertainment Media,                                                   Franklin Square, NY 11010
               Inc.
               613233/2017

       7.8.    Judith Cooper                                     Loan Agreement            United States District Court             Pending
               v.                                                                          New Jersey                               On appeal
               Giga Entertainment Media,                                                   50 Walnut Street                         Concluded
               Inc.                                                                        Newark, NJ 07102
               3:18-cv-09234

       7.9.    Meedmob, Inc.                                     Breach of                 Commonwealth of                          Pending
               v                                                 Contract                  Massachusetts                            On appeal
               Giga Entertainment Media,                                                   Superior Cout Suffolk                    Concluded
               Inc.                                                                        3 Pemberton Sqm Ste 13
               18-cv-3369-D                                                                Boston, MA 02108

       7.10 The Rose Group, LLC, Steven                          Advertising               Supreme Court of the State               Pending
       .    A. Rose, Lee Laino                                   Dispute                   of New York                              On appeal
               v                                                                           County of Nassau                         Concluded
               Giga Entertainment Media,                                                   100 Supreme Court Drive
               Inc. Giganttv, James Massa                                                  Mineola, NY 11501
               611842-2018

       7.11 New York State Department                            Employment                New York State Department                Pending
       .    of Labor                                                                       of Labor                                 On appeal
               v.                                                                          75 Varick Street, 7th floor              Concluded
               Giga Entertainment Media,                                                   New York, NY 10013
               Inc.
               and Gary Nerlinger
               LS27 2017007312
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               Case title                                        Nature of case               Court or agency's name and             Status of case
               Case number                                                                    address
       7.12 EMCF Partners, LLC                                   Venue/Contract               353rd District Court of                       Pending
       .    v.                                                   Issue                        Travis County                                 On appeal
               Giga Entertainment Media,                                                      1000 Guadalupe Street, 3rd                    Concluded
               Inc. d/b/a SELFEO                                                              Floor
               D-1-GN-16-002786                                                               P.O. Box 1748
                                                                                              Austin, TX 78767

       7.13 John C. Nimmer, Esq.                                 Appeal from the              Nebraska Supreme Court                        Pending
       .    vs                                                   District Court for                                                         On appeal
               Giga Entertainment Media Inc.                     Sarby County, NE                                                           Concluded
               S-17-070

       7.14 John C. Nimmer                                       Settlement                   District Court of Sarpy                       Pending
       .    vs.                                                  agreement/Disput             County                                        On appeal
               Giga Entertainment Media,                         e                            1210 Golden Gate Drive,                       Concluded
               LLC                                                                            Suite 3141
               CI 19-1013                                                                     Papillion, NE 68046


8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

           None


 Part 4:      Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

           None

               Recipient's name and address                      Description of the gifts or contributions                  Dates given                              Value


 Part 5:      Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

           None

       Description of the property lost and                      Amount of payments received for the loss                   Dates of loss               Value of property
       how the loss occurred                                                                                                                                         lost
                                                                 If you have received payments to cover the loss, for
                                                                 example, from insurance, government compensation, or
                                                                 tort liability, list the total received.

                                                                 List unpaid claims on Official Form 106A/B (Schedule
                                                                 A/B: Assets – Real and Personal Property).

 Part 6:      Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

           None.




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                 Who was paid or who received                        If not money, describe any property transferred           Dates             Total amount or
                 the transfer?                                                                                                                            value
                 Address
       11.1.     Fowler Bell PLLC
                 300 W. Vine Street, Suite 600                                                                                 $900.00
                 Lexington, KY 40507-1751                                                                                      March, 2019               $900.00

                 Email or website address


                 Who made the payment, if not debtor?




       11.2.     Fowler Bell PLLC
                 300 W. Vine Street, Suite 600                       See Disclosure of Compensation of
                 Lexington, KY 40507-1751                            Attorney                                                  6/27/2019             $34,250.00

                 Email or website address


                 Who made the payment, if not debtor?
                 Joseph Skrapits ($32,500.00)




12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

           None.

       Name of trust or device                                       Describe any property transferred                Dates transfers            Total amount or
                                                                                                                      were made                           value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

           None.

                Who received transfer?                           Description of property transferred or                  Date transfer           Total amount or
                Address                                          payments received or debts paid in exchange             was made                         value

 Part 7:       Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


           Does not apply

                 Address                                                                                                   Dates of occupancy
                                                                                                                           From-To
       14.1.     1979 Marcus Avenue #210                                                                                   Oct/Nov 2013-Oct 2017
                 Lake Success, NY 11042

       14.2.     990 Stewart Avenue, Suite 450-A                                                                           Oct. 2017-Oct. 2018
                 Garden City, NY 11530

       14.3.     175 Broadhollow Road                                                                                      Oct. 2018-Dec. 2018
                 Melville, NY 11747


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 Part 8:       Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

            No. Go to Part 9.
            Yes. Fill in the information below.


                 Facility name and address                       Nature of the business operation, including type of services           If debtor provides meals
                                                                 the debtor provides                                                    and housing, number of
                                                                                                                                        patients in debtor’s care

 Part 9:       Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

            No.
            Yes. State the nature of the information collected and retained.

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

            No. Go to Part 10.
            Yes. Does the debtor serve as plan administrator?


 Part 10:      Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

           None
               Financial Institution name and                    Last 4 digits of         Type of account or          Date account was              Last balance
               Address                                           account number           instrument                  closed, sold,             before closing or
                                                                                                                      moved, or                          transfer
                                                                                                                      transferred
       18.1.     Chase Bank, NA                                  XXXX-2238                   Checking                 10/2018                                $0.00
                 P.O. Box 15298                                                              Savings
                 Wilmington, DE 19850                                                        Money Market
                                                                                             Brokerage
                                                                                             Other


19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


           None

       Depository institution name and address                        Names of anyone with                Description of the contents            Do you still
                                                                      access to it                                                               have it?
                                                                      Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


           None

       Facility name and address                                      Names of anyone with                Description of the contents            Do you still
                                                                      access to it                                                               have it?
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       Facility name and address                                      Names of anyone with                Description of the contents                   Do you still
                                                                      access to it                                                                      have it?
       Westy Storage                                                  James Massa                         Corporate Documents and                           No
       2400 Marcus Avenue                                                                                 Event Swag                                        Yes
       New Hyde Park, NY 11042



 Part 11:     Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

        None


 Part 12:     Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

      Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
      owned, operated, or utilized.

      Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
      similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

            No.
            Yes. Provide details below.

       Case title                                                     Court or agency name and            Nature of the case                            Status of case
       Case number                                                    address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

            No.
            Yes. Provide details below.

       Site name and address                                          Governmental unit name and              Environmental law, if known               Date of notice
                                                                      address

24. Has the debtor notified any governmental unit of any release of hazardous material?

            No.
            Yes. Provide details below.

       Site name and address                                          Governmental unit name and              Environmental law, if known               Date of notice
                                                                      address

 Part 13:     Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

          None

    Business name address                                     Describe the nature of the business              Employer Identification number
                                                                                                               Do not include Social Security number or ITIN.

                                                                                                               Dates business existed

26. Books, records, and financial statements
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    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
             None

       Name and address                                                                                                                  Date of service
                                                                                                                                         From-To
       26a.1.       Robyn Starr                                                                                                          2017-2/2019
                    32 Silver Birch Road
                    Merrick, NY 11566
       26a.2.       Marc Goetz
                    325 Frankel Blvd
                    Merrick, NY 11566

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

                None

       Name and address                                                                                                                  Date of service
                                                                                                                                         From-To
       26b.1.       Marc Goetz                                                                                                           2013-current
                    325 Frankel Blvd
                    Merrick, NY 11566

    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

                None

       Name and address                                                                                      If any books of account and records are
                                                                                                             unavailable, explain why
       26c.1.       James Massa
                    723 Central Avenue, Suite B
                    Lexington, KY 40502
       26c.2.       Marc Goetz
                    325 Frankel Blvd.
                    Merrick, NY 11566

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

                None

       Name and address

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

            No
            Yes. Give the details about the two most recent inventories.

                Name of the person who supervised the taking of the                         Date of inventory        The dollar amount and basis (cost, market,
                inventory                                                                                            or other basis) of each inventory

28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Robert Morella                                 109 Presidential Drive                              Chairman of the                       .043%
                                                      Horseheads, NY 14845                                Board/Director




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       Name                                           Address                                             Position and nature of any        % of interest, if
                                                                                                          interest                          any
       James Massa                                    723 Central Avenue, Suite B                         Former CEO, and current VP        0
                                                      Lexington, KY 40502                                 of Administration/Director

       Name                                           Address                                             Position and nature of any        % of interest, if
                                                                                                          interest                          any
       Eddie Huey                                     538 Grove Street                                    Corporate Secretary               .064%
                                                      Montclair, NJ 07043

       Name                                           Address                                             Position and nature of any        % of interest, if
                                                                                                          interest                          any
       Brent Harris                                   3619 Peggy's Place                                  Director                          .049%
                                                      Tyler, TX 75701

       Name                                           Address                                             Position and nature of any        % of interest, if
                                                                                                          interest                          any
       Scott Lloyd                                    19102 Oakboard Road                                 Director                          .019%
                                                      Tyler, TX 75703

       Name                                           Address                                             Position and nature of any        % of interest, if
                                                                                                          interest                          any
       Jim Smith                                      717 Ridge Pike                                      Director                          .012%
                                                      Lafayette Hill, PA 19444

       Name                                           Address                                             Position and nature of any        % of interest, if
                                                                                                          interest                          any
       Serge Abend                                    2515 South Court                                    Director                          .012%
                                                      Palo Alto, CA 94301



29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


            No
            Yes. Identify below.

       Name                                           Address                                             Position and nature of any    Period during which
                                                                                                          interest                      position or interest
                                                                                                                                        was held
       Joseph Skrapits                                1751 2nd Avenue, Apt 14S                            Former Director               ending June 2019
                                                      New York, NY 10028-4127

       Name                                           Address                                             Position and nature of any    Period during which
                                                                                                          interest                      position or interest
                                                                                                                                        was held
       Cindy Meengs                                   1925 8th Avenue SW                                  Former Director               ending June 2019
                                                      Byron Center, MI 49315

       Name                                           Address                                             Position and nature of any    Period during which
                                                                                                          interest                      position or interest
                                                                                                                                        was held
       Arthur Mellon                                  5919 Van Ness Drive                                 Former Director               ending June 2019
                                                      Viera, FL 32940

       Name                                           Address                                             Position and nature of any    Period during which
                                                                                                          interest                      position or interest
                                                                                                                                        was held
       Milton Langer                                  8975 W. Golf Road                                   Former Director               ending June 2019
                                                      Niles, IL 60714



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30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

            No
            Yes. Identify below.

               Name and address of recipient                     Amount of money or description and value of             Dates             Reason for
                                                                 property                                                                  providing the value
       30.1 Gary Nerlinger                                                                                               June
       .    21 Center Drive                                                                                              2018-June         Compensation for
               Roslyn, NY 11576                                  $55,859                                                 2019              Services provided

               Relationship to debtor
               Former CEO/President,
               Consultant


       30.2                                                                                                                                Compensation for
       .                                                                                                                                   Services
               Eddie Huey                                                                                                June              provided/expense
               538 Grove Street                                                                                          2018-June         reimbursement/
               Montclair, NJ 07043                               $80,731.00                                              2019              Consulting fees

               Relationship to debtor
               CTO employee


       30.3                                                                                                                                Compensation for
       .                                                                                                                                   Services provided
               James Massa                                                                                               June              provided/expense
               723 Central Avenue, Suite B                                                                               2018-June         reimbursement/
               Lexington, KY 40502                               $180,220.00                                             2019              Consulting fees

               Relationship to debtor
               Former CEO/VP of
               Administration and
               Consultant


31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

            No
            Yes. Identify below.

    Name of the parent corporation                                                                             Employer Identification number of the parent
                                                                                                               corporation

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

            No
            Yes. Identify below.

    Name of the pension fund                                                                                   Employer Identification number of the parent
                                                                                                               corporation




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 Part 14:     Signature and Declaration

      WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
      connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
      18 U.S.C. §§ 152, 1341, 1519, and 3571.

      I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
      and correct.

      I declare under penalty of perjury that the foregoing is true and correct.

 Executed on         6/27/2019

 /s/ James Massa                                                         James Massa
 Signature of individual signing on behalf of the debtor                 Printed name

 Position or relationship to debtor         VP of Administration/Board Director

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
   No
   Yes




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                         page 11
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B2030 (Form 2030) (12/15)
                                                               United States Bankruptcy Court
                                                                      Eastern District of Kentucky
 In re       Giga Entertainment Media, Inc.                                                                   Case No.
                                                                                    Debtor(s)                 Chapter       7

                          DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.     Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
       compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
       be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept                                                  $                 33,915.00
             Prior to the filing of this statement I have received                                        $                 33,915.00
             Balance Due                                                                                  $                       0.00

2.     $    335.00        of the filing fee has been paid.

3.     The source of the compensation paid to me was:
                  Debtor                  Other (specify):           Joseph Skrapits, GIGA Shareholder -$32,500.00 by check
                                                                     GIGA $1,750.00 by wire transfer

4.     The source of compensation to be paid to me is:
                  Debtor                  Other (specify):

5.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

6.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

       a.   Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
       b.   Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
       c.   Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
       d.   [Other provisions as needed]


7.     By agreement with the debtor(s), the above-disclosed fee does not include the following service:
               Extended negotiations or defense or filing of any adversary proceedings(s), Motion(s) to dismiss bankruptcy
               case or to convert cases to a case under another Chapter of the Bankruptcy Code, and any other matter which
               may be contested by Debtor, a Creditor, or the Office of the United States Trustee.
                                                                            CERTIFICATION
       I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
 this bankruptcy proceeding.

     6/27/2019                                                                      /s/ Taft A. McKinstry
     Date                                                                           Taft A. McKinstry
                                                                                    Signature of Attorney
                                                                                    Fowler Bell PLLC
                                                                                    300 W. Vine Street
                                                                                    Suite 600
                                                                                    Lexington, KY 40507-1660
                                                                                    859-252-6700 Fax: 859-255-3735
                                                                                    Bankruptcy@FowlerLaw.com
                                                                                    Name of law firm




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                                                               United States Bankruptcy Court
                                                                      Eastern District of Kentucky
 In re      Giga Entertainment Media, Inc.                                                                 Case No.
                                                                                    Debtor(s)              Chapter    7




                                          VERIFICATION OF MAILING LIST MATRIX


            I, the Chairman of the Board of the corporation named as the petitioner(s) in the above-styled bankruptcy action, declare

under penalty of perjury that the attached mailing list matrix of creditors and other parties in interest consisting of 10 page(s) is

true and correct and complete, to the best of my (our) knowledge.




 Date:       6/27/2019                                                   /s/ James Massa
                                                                         James Massa, VP of Administration/Board Director
                                                                         Signer/Title



I,        Taft A. McKinstry           , counsel for the petitioner(s) in the above-styled bankruptcy action, declare that the attached
Master Address List consisting of 10 page(s) has been verified by comparison to Schedules D through H to be complete, to the
best of my knowledge. I further declare that the attached Master Address List can be relied upon by the Clerk of Court to provide
notice to all creditors and parties in interest as related to me by the debtor(s) in the above-styled bankruptcy action until such time as
any amendments may be made.




 Date: 6/27/2019                                                         /s/ Taft A. McKinstry
                                                                         Signature of Attorney
                                                                         Taft A. McKinstry
                                                                         Fowler Bell PLLC
                                                                         300 W. Vine Street
                                                                         Suite 600
                                                                         Lexington, KY 40507-1660
                                                                         859-252-6700 Fax: 859-255-3735




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                        Airsign, LLC
                        c/o Brian Modiano, CFO
                        12 NW 5th Place
                        Williston FL 32696


                        Alfred Colucci
                        937 Lawnton Terrance
                        Glenolden PA 19036


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                        Seattle WA 98109-5210


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                        2 Manhattenville Road, Ste 402
                        Purchase NY 10577


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                        1717 K. Street, NW
                        Washington DC 20006


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                        P.O. Box 398285
                        San Francisco CA 94139


                        Balder IP Law
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                        28046 Madrid Spain


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                        El Paso TX 79998


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                        P.O. Box 1804
                        New York NY 10159


                        Boston Red Sox Baseball LP
                        c/o David S. Friedman, Esq.
                        4 Yawkey Way
                        Boston MA 02215
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                    San Francisco CA 94111
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                    Philadelphia PA 19104-7346
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                    New York State Department of Labor
                    c/o Marianna DeCrescenzo,Esq.
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                    and Finance
                    Bankruptcy Section
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                    Albany NY 12205-0300


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                    Bethpage NY 11714-3581


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                    New York NY 10174


                    Perficient, Inc.
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                    555 Maryville University Drive, Ste 500
                    Saint Louis MO 63141
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                    Dallas TX 75320


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                    Elmont NY 11003


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                    DO2 FH73


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                    San Francisco CA 94103


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                    File # 50095
                    Los Angeles CA 90074


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                    Dubai, United Arab Emirates


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                                                               United States Bankruptcy Court
                                                                      Eastern District of Kentucky
 In re      Giga Entertainment Media, Inc.                                                                Case No.
                                                                                    Debtor(s)             Chapter    7




                                           CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for Giga Entertainment Media, Inc. in the above captioned action, certifies that the
following is a (are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or
more of any class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:



    None [Check if applicable]




 June 27, 2019                                                         /s/ Taft A. McKinstry
 Date                                                                  Taft A. McKinstry
                                                                       Signature of Attorney or Litigant
                                                                       Counsel for Giga Entertainment Media, Inc.
                                                                       Fowler Bell PLLC
                                                                       300 W. Vine Street
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                                                                       Lexington, KY 40507-1660
                                                                       859-252-6700 Fax:859-255-3735
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